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10 E. Stow Rd.
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                                                                  e.            E. Richard Dressel, Esquire
Suite 250
Marlton, NJ 08053                              •·.,9%
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                                                  • ••   •
                                                                                Member of the NJ and PA Bar
                                                                                Direct Dial (856) 382-8211
(856) 382-8550                                                                  rdressel@lexnovalaw.com
www.lexnovalaw.com
                                       LEX NOVA LAW
                                            LIMITED LIABILITY COMPANY




                                            March 16, 2022


    Kathy Byrne, Esquire
    Cooney & Conway
    120 North LaSalle Street
    Suite 3000
    Chicago, IL 60602-2415


                           Re: Engagement for Legal Services - Local Counsel for
                               Cooney & Conway on behalf half of Giovanni Soto
                               ("Client'')

    Dear Ms. Byrne:

                    We are required to formalize the terms of our engagement in writing. This letter
            is to confirm and formalize the terms of the Firm's engagement to provide legal services
            as local counsel to Cooney & Conway on behalf of client. If the following accurately
            describes your understanding of our engagement, please return an executed copy of this
            engagement agreement indicating that the terms are acceptable to Cooney & Conway.

            1.      SCOPE OF ENGAGEMENT. Our engagement is to act as local counsel to
            Cooney & Conway as counsel to Client in connection with the Chapter 11 proceeding of
            LTL Management, LLC ("LTL"), filed in the United States Bankruptcy Court for the
            District of New Jersey (Trenton vicinage) and docketed at case no. 21-30589(MBK) (the
            "LTL Case"). Our specific engagement is to act as local connection to Cooney &
            Conway as personal injury counsel in the L TL Case in connection with the filing of filing
            Joinders in the (a) Notices of Appeal and (b) Motions for Certification of Direct Appeal
            to the Third Circuit of Judge Kaplan's decision to terminate of the Official Committee of
            Talc Claimants II ("TCC II"), with said Joinders to be provided to us your office. Our
            representation may include analysis, research, investigation, correspondence,
            communications, preparation, drafting of documents and related work to properly
            Client. However, the Firm's representation does NOT require us to prepare, or assist in
            the preparation of, any pleadings including, but not limited to, Notice of Designation of
            Record on Appeal, the Appeal or Memorandum of Law in Support of the Appeal of the
            termination of the TCC II, unless specifically agreed to by the Firm in writing and any/all
            conditions of said representation would be satisfied.
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       2.      FEES AND RETAINER REQUIREMENT. The Firm's fees are generally
       based upon the time spent by the attorneys and paralegals who work on the matter. Our
       current hourly rates for services by attorneys range from $385 -$780 and for paralegal
       work from $250 - $350. At present, I anticipate that most of the work on your file will be
       done by me (at an hourly rate of $570). The Firm will endeavor to always staff your
       case as efficiently as possible and we will use associates for any work that can be done at
       a lower hourly rate. Our hourly rates are normally revised annually, on January 1st. Our
       time charges are recorded in increments of tenths of an hour (i.e., in six-minute intervals.

       In order to begin representation of Client in this matter, the Firm requires an initial
       retainer of $2,500 against services to be rendered on behalf of Client.

       3.     CLIENT FUNDS -IOLTA. All client funds, including but not limited to retainer
       payments, will be deposited into IOLTA (which stands for Interest On Lawyers Trust
       Accounts) bank accounts, unless other arrangements are expressly made and mutually
       agreed to in writing between Client and the Firm. An IOLTA account does not provide
       any interest to us or to Client. Instead, as required by New Jersey law, any interest
       earned will be paid directly by the bank to the NJ state IOLTA Fund. Furthermore,
       should our firm hold any funds in escrow pursuant to an escrow arrangement to which
       Client is a party, those escrow funds will also be deposited into an IOLTA account,
       unless other arrangements are expressly made and mutually agreed to in writing
       between Client and the Firm.

        4.    TERMINATION OF ENGAGEMENT. Any party may terminate this
       engagement upon written notice to the other party. If under the circumstances, leave of
       Court is required, we will file the appropriate application with the Court if we seek to
       terminate the engagement. The Firm may suspend our representation, upon notice to
       Client, until our billing statements (including any retainer requests) are paid. Client
       would additionally be responsible for any time charges and costs we incur to collect any
       past due billed amounts.

       5.    INQUIRIES. If you have any questions concerning the terms of this engagement,
       please do not hesitate to contact me.

       6.     COMMUNICATIONS. The Firm is capable of sending and receiving messages
       and documents via unencrypted e-mail. Although we find that e-mail can have
       significant advantages over the other forms of communication in terms of convenience
       and speed, unencrypted e-mail transmissions are not completely secure and could
       potentially be intercepted by third parties. It is our general practice to utilize e-mail, and
       by signing this engagement letter you authorize the use of e-mail unless you advise us in
       writing that Client does not. The Firm periodically purges our files, both our hard-copy
       files and our electronic files. Client agrees that we may discard and/or destroy documents
       and records, including e-mail records, as we deem appropriate from time to time. Client
       should always retain copies of contracts and other documents for Client's own files.

       7.     PRIVACY. In the course of providing legal services to Client, we may receive
       significant personal information about Client, either from you or with your
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       authorization. Of course, employees of our firm who work on Client's case will need to
       access that information in conn ection with the provision of services. You should know
       that all information that we receive about Client is held in strict confidence and is not
       disseminated to any person or entity outside the Firm, except as agreed to by you or as
       required under the applicable law.

       8.     CHOICE OF LAW /FORUM/PERSONAL AND SUBJECT MATTER
       JURISDICTION. This Agreement and all questions relating to its validity,
       interpretation, performance and enforcement shall be governed by, and construed in
       accordance with, the laws of the State of New Jersey, without giving effect to the
       principles of conflicts of laws. Client agrees that the state or federal courts of New Jersey
       located in Camden County, New Jersey shall be the exclusive forums for your case
       concerning this Agreement or any aspect of Client's engagement and Client consents to
       personal jurisdiction in such courts and Client consents to service of process by notice
       sent by regular mail to the address set forth above and/or by any means authorized by
       New Jersey law.

       9.    JOINT REPRESENTATION. The Firm is acting as local counsel to a law firm
       representing at least one other Committee member in connection with the LTL Case.

       Any time a lawyer represents multiple clients in the same matter, there exists the
       potential for conflicts of interest to arise. In connection with the LTL II Chapter 11 filing
       and the filing of the Notice of Appeal, it is presumed that Client's interests will largely be
       the same as our other client, but situations could arise at some point where the situations
       may differ. Consequently, there are both advantages and risks associated with our joint
       representation. In the of event differing views as to how to proceed would arise, you
       may wish to retain independent counsel to advise you. If not resolved, the Firm would
       likely have to withdraw as local counsel to each of you in the LTL Case.




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       If the foregoing arrangements are acceptable, including each of your waiver of any
       potential conflict of interest at this time, please email me back that you consent to the
       terms of the Firm's engagement for our file. We look forward to working with you.


                                              Very truly yours
                                              Lex Nova Law, LLC




                                              E. Richard Dressel




 ACCEPTANCE BY CLIENT:

        I have reviewed the above Engagement Agreement on behalf of Cooney & Conway and,
 on behalf of Cooney & Conway, agree to be legally bound by the terms of the Engagement
 Agreement.



 Date: March 1_, 2022
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       uld be Ms. Leslie Baskin
 March 4, 2022
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 appreciated if the above items would be provided not later than next Friday, March 11, 2022.


          Should you have any questions, please feel free to contact me at 609.670.0362.


          Thank you.


                                                      Very truly yours,

                                                      LEX NOV A LAW, LLC




                                                      E. Richard Dressel

 ERD/ad
